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             Sacramento, CA 95825
         4   Tel: (916) 974-3500
             Fax: (916) 927-2009
         5   E-mail: dheller@donaldhellerlaw.com
         6
         7   ATTORNEYS FOR DEFENDANT
         8   LAJAMAAL BRUMFIELD,

         9
        10                     IN THE UNITED STATES DISTRICT COURT
        11                   FOR THE EASTERN DISCTRICT OF CALIFORNIA

        12   UNITED STATES OF AMERICA                   Case 2:10-cr-00097-JAM
        13
                    Plaintiff,                          SUBSTITUTION OF ATTORNEYS AND
        14                                              ORDER
        15   vs.
        16
        17    LAJAMAAL BRUMFIELD,
                  Defendant.
        18
        19
        20
        21   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
        22
        23          NOTICE IS HEREBY GIVEN that Defendant LAJAMAAL BRUMFIELD,
        24   hereby substitutes Joseph J. Wiseman, Esq., of Wiseman Law Group 1477 Drew
        25
             Avenue, Suite 106, Davis, CA 95618, in place of Donald H. Heller, Esq., of Donald
        26
        27   H. Heller, A Law Corporation.
        28

                                                    1

                                     SUBSTITUTION OF ATTORNEYS


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         1   I consent to the above substitution.
         2
         3   Dated: October 21, 2010                Lajamaal Brumfield
                                                     Lajamaal Brumfield
         4
         5
                                                    New Attorney:
         6
         7                                          Wiseman Law Group
         8
             Dated: October 21, 2010                Joseph J. Wiseman
         9                                           Joseph J. Wiseman, Esq.
        10
        11
        12   I consent to the above substitution.   Former Attorney:
        13                                          DONALD H. HELLER,
        14                                          A Law Corporation
        15
        16   Dated: October 21, 2010                Donald H. Heller
                                                    Donald H. Heller, Esq.
        17
        18
        19   ORDER
        20
                    Approved and so ordered.
        21
        22
             Dated: 10/21/2010                      /s/ John A. Mendez_______
        23
                                                    United States District Judge
        24
        25
        26
        27
        28

                                                    2

                                       SUBSTITUTION OF ATTORNEYS


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